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 8                     IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             ) 2:11-CR-354 LKK
                                           )
12              Plaintiff,                 ) STIPULATION AND ORDER VACATING
                                           ) DATE, CONTINUING CASE, AND
13        v.                               ) EXCLUDING TIME
                                           )
14   EVARISTO ARREOLA VENTURA,             )
                                           ) Judge: Hon. Lawrence K. Karlton
15              Defendant.                 )
                                           )
16                                         )
                                           )
17

18                                    STIPULATION

19        The United States, by and through its undersigned counsel, and

20   defendant, by and through his counsel of record, hereby stipulate as

21   follows:

22     1. By previous order, this matter was set for a Status Hearing on

23        November 26, 2013.

24     2. By this Stipulation, the parties now move to continue the status

25        conference until January 28, 2014, at 9:15 a.m. and to exclude

26        time between November 26, 2013, and January 28, 2014, under

27        Local Codes A, N, and T4.

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 1   3. The parties and agree and stipulate, and request that the Court

 2     find the following:

 3        a. On July 30, 2013, the Court ordered that the defendant be

 4          committed to the custody of the Attorney General for

 5          treatment and competency evaluation.         On this date, the

 6          Court set this matter for a Status Conference on November

 7          26, 2013.

 8        b. Defendant did not arrive at FCC Butner until on or about

 9          October 26, 2013.      Consequently, the Bureau of Prisons has

10          not been able to complete treatment and evaluation of the

11          defendant.     The parties anticipate a competency report to

12          within 14 days of the end of the treatment period.

13        c. The parties request that the Court continue the Status

14          Conference until January 28, 2014, to allow the Bureau of

15          Prisons sufficient time to complete the competency

16          evaluation of the defendant and allow the parties

17          sufficient time to review the competency report before the

18          next appearance.

19        d. Based on the above-stated findings, the ends of justice

20          served by continuing the case as requested outweigh the

21          interest of the public and the defendant in a trial within

22          the original date prescribed by the Speedy Trial Act.

23        e. For the purpose of computing time under the Speedy Trial

24          Act, 18 U.S.C. § 3161, within which trial must commence,

25          the time period of November 26, 2013, to January 28, 2014,

26          inclusive, is deemed excludable pursuant to 18 U.S.C. §

27          3161(h)(7)(A), (B)(iv) [Local Code T4] because it results

28          from a continuance granted by the Court at the defendant’s
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 1             request on the basis of the Court’s finding that the ends

 2             of justice served by taking such action outweigh the best

 3             interest of the public and the defendant in a speedy trial.

 4             Further, this time period is also excludable pursuant to 18

 5             U.S.C. § 3161(h)(1)(A) [Local Code A] and 18 U.S.C. §

 6             3161(h)(4) [Local Code N].

 7     4. Nothing in this stipulation and order shall preclude a finding

 8        that other provisions of the Speedy Trial Act dictate that

 9        additional time periods are excludable from the period within

10        which a trial must commence.

11   IT IS SO STIPULATED.

12

13   DATED: November 20, 2013           /s/ Audrey B. Hemesath        _
                                      AUDREY B. HEMESATH
14                                    Assistant U.S. Attorney
15   Dated: November 20, 2013           /s/ Dina L. Santos   _
                                      DINA L. SANTOS
16                                    Attorney for Defendant
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18                                        ORDER
19        IT IS SO FOUND AND ORDERED, this 22nd day of November, 2013.
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